        Case 5:22-cv-03122-EJD Document 22 Filed 08/21/22 Page 1 of 3




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     Attorney(s) for Digital Verification Systems, LLC
 6

 7
                     IN THE UNITED STATES DISTRICT COURT
 8                FOR THE NORTHERN DISTRICT OF CALIFORNIA
 9
     DIGITAL VERIFICATION            §
10   SYSTEMS LLC,                    §            Case No: 5:22-cv-03122-EJD
                                     §
11
          Plaintiff,                 §            PATENT CASE
12                                   §
     vs.                             §
13
                                     §
14   JOTFORM, INC.                   §
                                     §             JOINT STIPULATION
15
          Defendant.                 §             OF DISMISSAL
16   ________________________________§
17
           Plaintiff Digital Verification Systems, LLC, and Defendant JotForm, Inc., by
18
     their respective undersigned counsel, hereby STIPULATE and AGREE as follows:
19
           1.     All claims asserted by the Plaintiff in this Action are dismissed with
20
     prejudice and all counter-claims asserted by the Defendant in this Action are dismissed
21
     without prejudice under Fed. R. Civ. P. 41(a)(1)(A)(ii);
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           2.     Each party shall bear its own costs and attorneys’ fees with respect to the
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     matters dismissed hereby;
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           This Stipulation and Order shall finally resolve the Action between the parties.
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                                 JOINT STIPULATION OF DISMISSAL
        Case 5:22-cv-03122-EJD Document 22 Filed 08/21/22 Page 2 of 3




 1   Dated: August 21, 2022             Respectfully submitted,
 2
                                        /s/Stephen M. Lobbin
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                                        Attorney(s) for Defendant
25
                                        Jotform, Inc.
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                              JOINT STIPULATION OF DISMISSAL
        Case 5:22-cv-03122-EJD Document 22 Filed 08/21/22 Page 3 of 3




 1                               CERTIFICATE OF SERVICE
 2         I hereby certify that on August 21, 2022, I electronically filed the above
 3   document(s) with the Clerk of Court using CM/ECF which will send electronic
 4   notification of such filing(s) to all registered counsel.
 5
                                                     /s/ Stephen M. Lobbin
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                                                     Stephen M. Lobbin
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                                   JOINT STIPULATION OF DISMISSAL
